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                               UNITED STATES DISTRICT COURT

                                         DISTRICT OF OREGON


D. JEANETTE FINICUM, ET AL
                                                                   2:18-CV-00160-SU
                                                        Case No.: ________________________
                           Plaintiff(s),
                                                        MOTION FOR LEAVE TO APPEAR
 v.                                                     PRO HAC VICE

BUREAU OF LAND MANAGEMENT, ET AL

                           Defendant(s).



        Attorney _________________________________
                 John M. Pierce                    requests special admission pro hac
vice to the Bar of the United States District Court for the District of Oregon in the above-
captioned case for the purposes of representing the following party (or parties):
All Plaintiffs
______________________________________________________________________________
        In support of this application, I certify that: 1) I am an active member in good standing
with the _____________
         California    State Bar; and 2) that I have read and am familiar with the Federal
Rules of Evidence, the Federal Rules of Civil and Criminal Procedure, the Local Rules of this
Court, and this Court's Statement of Professionalism.
        I understand that my admission to the Bar of the United States District Court for the
District of Oregon is solely for the purpose of litigating in the above matter and will be
terminated upon the conclusion of the matter.

         (1)      PERSONAL DATA:
                  Name: Pierce, James
                           (Last Name)               (First Name)                  (MI)         (Suffix)
                  Agency/firm affiliation: Pierce Bainbridge P.C.
                  Mailing address: 355 S. Grand Avenue, 44th Floor
                  City: Los Angeles                                       ___________ Zip: 90071
                                                                    State:CA
                  Phone number: (213) 400-0725                      Fax number:
                  Business e-mail address: jpierce@piercebainbridge.com




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         (2)       BAR ADMISSION INFORMATION:
                   (a)     State bar admission(s), date(s) of admission, and bar number(s):
                            California - 2007 - SBN 250443

                   (b)     Other federal court admission(s) and date(s) of admission:
                            CDCA - 250443 - 2007; NDCAL - 250443-2012; WDPA - 2001; EDCA -
                            250443 - 2012; EDTEX - 2020

                  CERTIFICATION OF DISCIPLINARY ACTIONS:
               ‫ ܆‬I am not now, nor have I ever been, subject to any disciplinary action by any
               ✔


                 state or federal bar associationRUVXEMHFWWRMXGLFLDOVDQFWLRQV.

               ‫ ܆‬I am now or have been subject to disciplinary action by a state or federal bar
                 associationRUVXEMHFWWRMXGLFLDOVDQFWLRQV. (Attach letter of explanation.)

                  CERTIFICATION OF PROFESSIONAL LIABILITY INSURANCE:
                   Pursuant to LR 83-3, I have professional liability insurance, or financial
                   responsibility equivalent to liability insurance, that meets the insurance
                   requirements of the Oregon State Bar for attorneys practicing in this District,
                   and that will apply and remain in force for the duration of the case, including
                   any appeal proceedings.

                  CM/ECF REGISTRATION:
                   I acknowledge that I will become a registered user of the Court's case
                   management and electronic case filing system (CM/ECF) upon approval of this
                   application, and I consent to electronic service pursuant to Fed. R. Civ. P.
                   5(b)(2)(E) and the Local Rules of the District of Oregon.

Certification of Attorney Seeking Pro Hac Vice Admission: I have read and understand the
requirements of LR 83-3, and I certify that the above information is true and correct.


        DATED: 11/19/2021



                                                        /s/ John M. Pierce
                                                        (Signature)




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REQUIREMENT TO ASSOCIATE WITH LOCAL COUNSEL:

LR 83-3(a)(1) requires applicants for pro hac vice admission to associate with local counsel,
unless requesting a waiver of the requirement under LR 45-1.

To request a waiver of the requirement to associate with local counsel under LR 45-1, check the
following box:

    ‫ ܆‬I seek admission for the limited purpose of filing a motion related to a subpoena that this
      Court did not issue. Pursuant to LR 45-1(b), I request a waiver of the LR 83-3(a)(1)
      requirement to associate with local counsel and therefore do not include a certification
      from local counsel with this application.

To associate with local counsel, provide the following information about local counsel, and
obtain the signature of local counsel.

Name: PHILPOT, J. MORGAN
                        (Last Name)          (First Name)                    (MI)             (Suffix)
OSB number: 144811

Agency/firm affiliation: JM PHILPOT LAW, PLLC

Mailing address: 620 EAST 100 NOTH

City: ALPINE                                  State: UTAH        Zip:                     84004

Phone number: (801) 891-4499                  Fax number:

Business e-mail address: morgan@jmphilpot.com

CERTIFICATION OF ASSOCIATE LOCAL COUNSEL:

I certify that I am a member in good standing of the bar of this Court, that I have read and
understand the requirements of LR 83-3, and that I will serve as designated local counsel in case
number 2:18-cv-00160-SU               .

           11/19/2021
DATED:                                       .

                                                    V-0RUJDQ3KLOSRW
                                             (Signature of Local Counsel)




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